Case 1:05-cr-10044-.]DT Document 11 Filed 07/26/05 Page 1 of 2 PagelD 13
|N THE UN|TED STATES D|STR|CT COURT _, _\ ,‘ q n

FoR THE wEsTERN oisTRicT oF TENNEssEE Cllj't'_i ill '
EASTERN oi\/isioN

UN|TED STATES OF ANIERICA,

 

Plaintiff,
v. Cr. No. 05-10044-T/An
lVllCHAEL ROGERS,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on July 26, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, Who is appointed:

NAi\/IE: Dianne Smothers
ADDRESS:

TELEPHONEZ

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.
,/
ig The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA_`of_tQB¢i), is remanded to the custody of the
U.S. l\/larshal.

 

/

S. THOl\/lAS ANDERSON
United States l\/lagistrate Judge

Charges: felon in possession of a firearm
Assistant U.S. Attorney assigned to case: Powe||

Ru|e 32 Was not Waived.

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Defendant's age: § 53

This document entered on the docket she tin compliance
with Rule 55 and/or32(b} FRCrP on q z g 81 C2 5 \

DISTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-10044 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

